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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In re:                                     ) Chapter 11, Sub Ch. V
                                            )
 Joseph Severino,                           )
                                            ) Judge Timothy A. Barnes
 Debtor.                                    )
                                            ) Case No. 22-00769


                         NOTICE OF OBJECTION AND HEARING

TO:       SEE ATTACHED SERVICE LIST

              PLEASE TAKE NOTICE that on the 10th day of August 2022, at 9:00 a.m. or as
soon as counsel can be heard, I shall appear before the Honorable Timothy A. Barnes, or before
any other Judge who may be sitting in his place and present the Objection to Claim No. 19 filed
by Jacquie Urbano and John Urbano, a copy of which is attached hereto and herewith served
upon you.
       This motion will be presented and heard electronically using Zoom for
Government. No personal appearance in court is necessary or permitted. To appear and be
heard on the motion, you must do the following:

      To appear by video, (1) use the link: https://www.zoomgov.com/. (2) Enter the
meeting ID 161 329 5276. (3) Enter the passcode 433658. Unless otherwise ordered by
Judge Barnes, the hearings will be conducted without video.

      To appear by telephone, (1) CALL Zoom for Government at 1-669-254-5252 or 1-646-
828-7666. (2) Enter the meeting ID 161 329 5276. (3) Enter passcode 433658.

          When prompted identify yourself by stating your full name.

       To reach Judge Barnes’s web page go to www.ilnb.uscourts.gov and click on the tab
for Judges.

        If you object to this motion and want it called on the presentment date above, you may
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may call the matter regardless.

                                            /s/John H. Redfield
                                            CRANE, SIMON, CLAR & GOODMAN
                                            135 South LaSalle Street, Suite 3950
                                            Chicago, Illinois 60603
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                                               (312) 641-6777


                                 CERTIFICATE OF SERVICE

        The undersigned, being first duly sworn on oath deposes and states that he caused a copy
of the attached Objection to Claim to be served on all the parties listed on the attached Service
List via first class mail, properly addressed, postage pre-paid, on the 11th day of July, 2022, before
the hour of 5:00 p.m.


                                               /s/John H. Redfield




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                                    SERVICE LIST
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In re:                                      ) Chapter 11, Sub Ch. V
                                             )
 Joseph Severino,                            )
                                             ) Judge Timothy A. Barnes
 Debtor.                                     )
                                             ) Case No. 22-00769


                     DEBTOR’S OBJECTION TO CLAIM NO. 19 FILED
                       BY JACQUIE URBANO AND JOHN URBANO

          JOSEPH SEVERINO, (“Debtor”) by and through his attorneys, John H. Redfield and the

firm of Crane, Simon, Clar & Goodman, Objects to Claim Number 19 of Jacquie Urbano and

John Urbano (“Urbano”) by stating as follows:

          1.    On January 24, 2022, the Debtor filed a voluntary petition for relief under Chapter

11, Subchapter V of the Bankruptcy Code (“Petition Date”).

          2.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. Section 1334.

This matter is a “core” proceeding within the meaning of 28 U.S.C. Section 157(b)(2)(A), (B),

(K), and (O) and in accordance with 11 U.S.C, Section 157(a), all bankruptcy cases have been

referenced to Bankruptcy Court by the District Court for the Northern District of Illinois

pursuant to Internal Operation Procedure 15(a).

          3.    The Debtor files this Objection to Claim pursuant to Rule 3007 of the

Fed.R.Bankr.P.

           4.   Urbano filed Claim Number 19, which is attached hereto as Exhibit 1 (“Claim”),

that claims to be fully secured pursuant to a second mortgage on the real property commonly

known as 1392 W. Old Mill Road, Lake Forest, Illinois 60045 in the amount of $719,493.03.


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       5.      The Claim fails to attach a complete copy of the mortgage allegedly recorded with

the Recorder of Deeds of Lake County, Illinois.

       6.      In the first paragraph, the promissory note dated March 3, 2020 (“Note”) provides

for a loan totaling “$500,000 plus the agreed interest of $50,000.”

       7.      In the paragraph entitled DEFAULT, the Note provides for a “$8,000 penalty per

month for each month thereafter of non-performance” commencing on August 1, 2020.

       8.      The Note, drafted by the claimants, deems the $8,000 per month a “penalty”.

       9.      Penalties are not enforceable according to Illinois law and New Jersey law as

being oppressive and against public policy. Metlife Capital Financial corp. v. Washington Ave.

Associates, L.P., 159 N.J. 484, 493, 732 A.2d 493,498 (1999), Telenois, Inc. v. Village of

Schaumburg,256 Ill.app.3d 897, 901-02, 628 N.E.2d 581, 584-85, 195 Ill.Dec. 117, 120-21 (1st

Dist. 1993).

       WHEREFORE, Joseph Severino, Debtor herein, prays for the entry of an order as

follows:

       a. The Urbano claim be disallowed in its entirety;

       b. In the alternative, the penalty claim of $8,000 per month be disallowed; and

       c. For such other order as this court deems just and appropriate.

                                             Respectfully submitted,

                                             Joseph Severino,

                                             By:
                                                      /s/John H. Redfield
                                                      One of their attorneys


 Attorney for Debtor
 John H. Redfield (Atty. No. 2298090)
 Crane, Simon, Clar & Goodman


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